      Case 3:09-cv-01319-D Document 1 Filed 07/15/09      Page 1 of 8 PageID 1



                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

JENNIFER BROWN,                        §
Plaintiff                              §
                                       §     CIVIL ACTION NO. ________
vs.                                    §
                                       §
THE PHOENIX RECOVERY                   §
GROUP,                                 §
Defendant                              §


                                  COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW Jennifer Brown, hereinafter referred to as Plaintiff

complaining against The Phoenix Recovery Group, hereinafter referred to as

Defendant and for cause of action would respectfully show unto the Court as

follows:

              NATURE OF THE ACTION AND JURISDICTION

1.     This is an action for damages brought by an individual Plaintiff for

Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”), the Texas Debt Collection Practices Act, Chapter

392 (hereinafter “TDCPA”) and the Texas Business and Commerce Code,

Subchapter E, Chapter 17, (hereinafter “DTPA”), which prohibit debt collectors

from engaging in abusive, deceptive, and unfair practices. Plaintiff seeks to recover
     Case 3:09-cv-01319-D Document 1 Filed 07/15/09       Page 2 of 8 PageID 2



monetary damages for Defendant’s violation of the FDCPA, the TDCPA and the

DTPA and to have an Order or injunction issued by this Court preventing

Defendant from continuing its behavior in violation of the FDCPA. Jurisdiction of

this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1337 and venue is

proper before this Court as Plaintiff and/or Defendant reside in this District and/or

the complained of actions occurred in this District. Service may be made upon

Defendant in any other district in which it may be found pursuant to 29 U.S.C.

§1132(e)(2).

2.    Plaintiff, Jennifer Brown, is a natural person and a “consumer” as defined by

15 U.S.C. §1692(a)(3), the Texas Deceptive Trade Practices Act §17.45(4) and

Texas Finance Code §392.001(1).

3.    Defendant, The Phoenix Recovery Group, is a domestic corporation engaged

in the business of collecting debts by use of the mails and telephone, and

Defendant regularly attempts to collect debts alleged to be due another. Defendant

is a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6) trying to

collect a “debt” as defined by 15 U.S.C. §1692(a)(5) and Texas Finance Code

§392.001(2).

                               FIRST COUNT
                             FDCPA VIOLATIONS

4.    At various and multiple times prior to the filing of the instant complaint,

including within the one year preceding the filing of this Complaint, Defendant
      Case 3:09-cv-01319-D Document 1 Filed 07/15/09        Page 3 of 8 PageID 3



contacted Plaintiff in an attempt to collect an alleged outstanding debt. Defendant’s

conduct violated the FDCPA in multiple ways, including but not limited to:

     a) Using false representations and deceptive practices in connection with

        collection of an alleged debt from Plaintiff, including coming to an

        agreement with Plaintiff to accept $775 in full satisfaction of her liability on

        the alleged debt, then later denying that such an arrangement had been made

        (§ 1692e(10));

     b) In connection with collection of a debt, using language the natural

        consequence of which was to abuse Plaintiff, including stating that

        Defendant does not have time for Plaintiff and will not deal with her little

        payments (§ 1692d(2)); and

     c) Where Defendant had not yet made an attempt to contact Plaintiffs counsel

        or had not given Plaintiffs counsel sufficient time to respond to the initial

        attempt to communicate with Plaintiffs counsel, and where Plaintiffs counsel

        had not given Defendant permission to contact Plaintiff directly,

        communicating with Plaintiff directly after learning that Plaintiff is being

        represented by counsel (§ 1692c(a)(2)).

5.      As a result of the above violations of the FDCPA, Plaintiff suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and
      Case 3:09-cv-01319-D Document 1 Filed 07/15/09       Page 4 of 8 PageID 4



emotional distress, and Defendant is liable to Plaintiff for Plaintiff’s actual

damages, statutory damages, and costs and attorney’s fees.

6.     Defendant’s aforementioned statutory violations also constitute an invasion

of Plaintiff’s right to privacy, causing additional injury to Plaintiff’s feelings,

mental anguish and distress.

7.     As a result of the above statutory violations and invasion of privacy, Plaintiff

suffered and continues to suffer injury to Plaintiff’s feelings, personal humiliation,

embarrassment, mental anguish and emotional distress, and Defendant is liable to

Plaintiff for Plaintiff’s actual damages, exemplary damages, statutory damages,

and costs and attorney’s fees.

                         SECOND COUNT
     VIOLATION OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT

8.     Plaintiff reincorporates by reference herein all prior paragraphs above.

9.     This suit is brought, in part, under the authority of Tex. Bus. & Com. Code §

17.41 et seq., commonly known as the Deceptive Trade Practices and Plaintiffs

Protection Act and cited in this petition as the “DTPA”.

10.      Defendant was given notice in writing of the claims made in this Petition

more than sixty days before this suit was filed in the manner and form required by

DTPA §17.505 (a).

11.       Defendant made numerous material misrepresentations in an attempt to

collect the purported debt as detailed above.
      Case 3:09-cv-01319-D Document 1 Filed 07/15/09         Page 5 of 8 PageID 5



12.    Defendant knew or should have known that its representations were false

and/or acted in reckless disregard for the truth or falsity of its representations.

13.    Defendant’s actions were done maliciously and in willful, wanton and

reckless disregard for the rights of the Plaintiff.

14.    Defendant’s actions as detailed above constitute a violation of the Texas

Deceptive Trade Practices Act, Tex. Bus. & Com. Code § 17.41.

15.    The conduct described above has been and is a producing and proximate

cause of damages to Plaintiff.        Plaintiff’s damages include: Actual/economic

damages, emotional and/or mental anguish damages, exemplary/punitive damages,

and Plaintiff’s attorneys’ fees and costs.

16.    Additionally, Plaintiff seeks an award of discretionary additional damages in

an amount not to exceed three times the amount of economic damages if

Defendant’s conduct is found to have been committed knowingly; or an amount

not to exceed three times the amount of economic and mental anguish damages if

Defendant’s conduct is found to have been committed intentionally.

17.     Plaintiff seeks reasonable and necessary attorney’s fees in this case through

the time judgment is entered and for any post-trial or post-judgment appeals, to be

detailed through a statement of services submitted at the appropriate time.

                       THIRD COUNT
         COMMON LAW INVASION OF PRIVACY BY INTRUSION

18.    Plaintiff reincorporates by reference herein all prior paragraphs above.
       Case 3:09-cv-01319-D Document 1 Filed 07/15/09          Page 6 of 8 PageID 6



19.         Defendant’s aforementioned violations of the FDCPA also constitute an

intentional intrusion into Plaintiff’s private places and into private matters of

Plaintiff’s life, conducted in a manner highly offensive to a reasonable person.

Plaintiff had a subjective expectation of privacy in the context of Defendant’s

actions that was objectively reasonable under the circumstances.

            WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that

Defendant be cited to appear and answer herein and upon final hearing hereof,

Plaintiff have judgment of and against Defendant as follows:

      (a)     a declaratory judgment be entered that Defendant’s conduct violated the

              FDCPA;

      (b)     an award of actual damages;

      (c)     an award of statutory damages pursuant to 15 U.S.C. § 1692k;

      (d)     an award of costs and reasonable attorney’s fees pursuant to 15 U.S.C. §

              1692k; and,

      (e)     a declaratory judgment be entered that Defendant’s conduct violated the

              Texas deceptive Trade Practices Act;

      (f)     an award for all actual damages, exemplary damages, emotional/mental

              anguish damages, all attorneys fees, costs of court, and pre-judgment and

              post-judgment interest at the highest lawful rates.
    Case 3:09-cv-01319-D Document 1 Filed 07/15/09        Page 7 of 8 PageID 7



   (g)   seeks an award of discretionary additional damages in an amount not to

         exceed three times the amount of economic damages if Defendant’s

         conduct is found to have been committed knowingly; or an amount not to

         exceed three times the amount of economic and mental anguish damages

         if Defendant’s conduct is found to have been committed intentionally.

   (h)   such other and further relief as may be just and proper.



                                       Respectfully submitted,


                                              By: /s/Susan Landgraf
                                              Susan Landgraf
                                              Texas State Bar # 00784702
                                              Attorney in Charge for Plaintiffs

WEISBERG & MEYERS, L.L.C.
108 E. 46th Street
Austin, TX 78751
Phone: (512) 436-0036 ext. 116
Facsimile: (866) 317-2674



                         CERTIFICATE OF SERVICE


I certify that on July 15, 2009, I electronically filed the foregoing document with
the clerk of the U.S. District Court, Northern District of Texas, Dallas Division
using the electronic case filing system of the court.


                                                          /s/ Susan A. Landgraf___
                                                           SUSAN A. LANDGRAF
Case 3:09-cv-01319-D Document 1 Filed 07/15/09   Page 8 of 8 PageID 8
